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5                         IN THE UNITED STATES DISTRICT COURT

6                        FOR THE EASTERN DISTRICT OF CALIFORNIA

7
                                               ) Case No.: 2:13-cr-00160-MCE
8    United States of America,                 )
                                               ) STIPULATION REGARDING EXCLUDABLE TIME
9                 Plaintiff,                   ) PERIODS UNDER SPEEDY TRIAL ACT;
                                               ) FINDINGS AND ORDER
10        vs.                                  )
      Sakhanskiy, et.al.                       ) Court: Hon. Morrison C. England
11                                             ) Time:     9:00 a.m.
                  Defendants.                  ) Date:     October 30, 2014
12                                             )
13

14                                        STIPULATION

15
           Plaintiff United States of America, by and through its counsel of record, and
16
     defendants, by and through their counsel of record, hereby stipulate as follows:
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           1.     By previous order, this matter was set for status on October 2, 2014.
18
           2.     By this stipulation, defendants now move to continue the status
19   conference until October 30, 2014, if that date is available with the Court

20         3.     The parties agree and stipulate, and request that the Court find the

21   following:

22         a.     As the Court is aware, the government has provided over 6,000 pages of

     discovery, including investigative reports and related documents in electronic form,
23
     over 3 hours of audio taped interviews with Sacramento Metropolitan Fire investigators
24
     and local law enforcement and other witnesses and photographs.
25
           b.     Defense counsel has engaged experts in this matter.   Counsel continue to
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     review discovery with their respective clients and actively investigate.   Counsel
27   desire additional time to consult with their clients, to continue investigation and

28   research related to the charges, to review and copy discovery for this matter, to




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     discuss potential resolutions with clients, to prepare pretrial motions, and to
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     otherwise prepare for trial.   Counsel for Alexander Sakhaniskiy will be in federal
2
     court in Utah on October 2, 2014.   Counsel for the government will be in trial on that
3
     date.   The parties jointly request this brief continuance and will be prepared to set
4    a trial date on October 30, 2014,

5            c.    Counsel for defendants believe that failure to grant the above-requested

6    continuance would deny defendant the reasonable time necessary for effective

7    preparation, taking into account the exercise of due diligence.

             d.    The government does not object to the continuance.
8
             e.    Based on the above-stated findings, the ends of justice served by
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     continuing the case as requested outweigh the interest of the public and the defendant
10
     in a trial within the original date prescribed by the Speedy Trial Act.
11
             f.    For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
12   3161, et seq., within which trial must commence, the time period of October 2, 2014 to

13   October 30, 2014 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),

14   B(iv) [Local Code T4] because it results from a continuance granted by the Court at

15   defendant’s request on the basis of the Court's finding that the ends of justice

     served by taking such action outweigh the best interest of the public and the
16
     defendant in a speedy trial.
17
             4.    Nothing in this stipulation and order shall preclude a finding that other
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     provisions of the Speedy Trial Act dictate that additional time periods are excludable
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     from the period within which a trial must commence.
20
     IT IS SO STIPULATED.
21   ///
22   ///
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26   ///
27   ///
28   ///




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     Dated: September 30, 2014             Respectfully submitted,
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2
                                           __/s/ Shari Rusk___
3                                         Shari Rusk
                                           Attorney for Defendant
4                                          Larisa Sakhanskiy

5
                                           /s/ Mark J. Reichel____
6                                          Mark J. Reichel
                                           Attorney for Defendant
7                                          Alexander Sakhaniskiy

8                                          /s/ Michael Anderson
                                           Michael Anderson
9                                          Assistant United States Attorney

10

11                                         ORDER

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13            IT IS SO ORDERED.

14   Dated:     October 2, 2014

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